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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         DETROIT DIVISION


 AISHA JARHARA WALKER,

 Plaintiff,                                      Case No. 2:17-cv-14228-GAD-
                                                 MKM
 v.
                                                 Honorable Judge Gershwin A.
 CENTRAL CREDIT SERVICES,                        Drain
 LLC,

 Defendant.



       AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED by and between the Plaintiff,

AISHA JARHARA WALKER, and the Defendant,                     CENTRAL CREDIT

SERVICES, LLC, through their respective counsel that the above-captioned action

is dismissed    with prejudice, against CENTRAL CREDIT SERVICES, LLC,

pursuant to settlement and Federal Rule of Civil Procedure 41. Each party shall bear

its own costs and attorney fees.
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Dated: June 20, 2018                    Respectfully Submitted

AISHA JARHARA WALKER                     CENTRAL CREDIT SERVICES, LLC

/s/ Nathan C. Volheim                   /s/ Morgan I. Marcus
Nathan C. Volheim                       Morgan I. Marcus
Counsel for Plaintiff                   Counsel for Defendant
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                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                        DETROIT DIVISION


AISHA JARHARA WALKER,

Plaintiff,                                    Case No. 2:17-cv-14228-GAD-
                                              MKM
v.
                                              Honorable Judge Gershwin A.
CENTRAL CREDIT SERVICES,                      Drain
LLC,

Defendant.

                ORDER OF DISMISSAL WITH PREJUDICE

      Plaintiff, AISHA JARHARA WALKER (“Plaintiff”), by and through her

attorneys, SULAIMAN LAW GROUP, LTD., having filed with this Court her

Stipulation of Dismissal and the Court having reviewed same, now finds that this

matter should be dismissed.

      IT IS THEREFORE ORDERED by this Court that the above cause of action

is hereby dismissed, with prejudice.


Dated: June 26, 2018                       s/Gershwin A. Drain
                                           US District Judge
